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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-496
                                           )
MARK IBRAHIM,                              ) HEARING: JULY 28, 2022
                                           )
         DEFENDANT.                        )
__________________________________________)

           SUPPLEMENT TO DEFENDANT’S MEMORANDUM IN SUPPORT OF
MOTION FOR DISCOVERY ON EQUAL PROTECTION GROUNDS FOR SELECTIVE PROSECUTION
———————————————————————————————————————


            On July 11, 2022, a week and a half after the oral argument on Defendant’s Motion for

Discovery on Selective Prosecution, the government uploaded supplemental discovery requested

by the defense as previously inaccessible in the prior production. The defense request for these

materials was made on May 4, 2022.

            Within the supplemental discovery, the Defense discovered documents that are highly

consequential to the consideration of Defendant’s motion pending before this court, scheduled

for a ruling on July 28, 2022.



            1) Statements By An On-duty Federal Officer

            An email discovered in supplemental discovery is necessary for the proper consideration

of Defendant’s motion as it addresses explicitly two issues raised by the defense and one issue

raised by the government:




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                  1) The politicization of internal federal agency investigations related to January 6.

                  2) Presence of armed, off-duty federal officers at the January 6 protest.

                  3) And, lack of Defendant’s culpable conduct, in contradiction to evidence presented

                         by the government.

            According to an email from a federal agent who, for “preliminary information,” contacted

an on-duty federal officer stationed at the Capitol protest on January 6, 2021, the on-duty officer

observed and interacted with Mark Ibrahim at the protest. The on-duty officer “commented that

DEA SA IBRAHIM was behind proper barricade(s) and no aggression/affiliation was observed.”

Furthermore, the on-duty officer was “hesitant to provide the name(s) of other FBI/other law

enforcement personnel known to him that may have been present in a personal capacity at the

U.S. Capitol that day because of how political this thing had become… declined to provide any

other name(s).”1

            The defense did not receive a supplement to this investigation.

            The statements made by the on-duty agent corroborate the Defense’s contention that there

were multiple off-duty officers present at the January 6 protest and that they are known to the

government. Based on public filings, none of these officers have been charged with any offenses

— presumably because, like the brother of Mr. Ibrahim, the officers did not outwardly express

their political beliefs. Potentially, they were interviewed, like Mr. Ibrahim’s brother, and

answered the politicized questions of the government investigators to the political satisfaction of

the investigators. And, based on what the Defense has seen in the DEA Agent’s manual and the




1 The names of the federal agents, and therefore the original email exhibits, will be withheld from public filings for
the protection of the identity of these agents.

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laws of DC,2 and extrapolating similar firearms rules from one agency to all others, the off-duty

officers were likely armed.

            It is also highly relevant that the on-duty federal officer observed “how political this thing

had become” with the internal federal investigations. This agent’s observations corroborate the

politicized investigation of SA Higley into Mark Ibrahim, as revealed by the nature of SA

Higley’s questions to Mr. Ibrahim, his coworkers, and his brother.

            Finally, the on-duty officer corroborated the statements of Mr. Ibrahim and his brother

that they did not see barricades barring access to the areas they visited on January 6, with the on-

duty officer stating that Mr. Ibrahim “was behind proper barricade(s).” As a reminder, 18 U.S.C.

§ 1752(a)(1) and (b)(1)(a), the defendant’s most serious charge and the charge that the

government revealed at the oral hearing they could have levied against Mr. Ibrahim’s brother but

simply chose not to, requires for Defendant to have knowingly entered a restricted area.



            2) Statements By Witnesses Present on January 6

            An FBI 302 report of an interview of a witness present on January 6, and corresponding

notes, were provided in the supplemental discovery. In contradiction to the government’s

theatrical obsession with a cigar sales theory, which is not relevant to any legal issue in the

matters pending before this court, nor supported by otherwise relevant evidence such as profits

or a contract, but which the government continuously raises as somehow inculpatory — a

witness who was present with Mr. Ibrahim at the protest in front of the Capitol specifically

2 Pursuant to 21 U.S.C. § 878, DEA law enforcement officers are authorized to carry firearms without limitation to
official duty. The DEA Agents Manual § 6122.11(B) requires agents to maintain access to firearms while off duty,
stating that DEA agents “are required to be available for duty with little or no advance notice” and “must have ready
access to their firearm in the event that they are recalled to duty.” And, D.C. Code § 22–4505 permits federal police
officers, who are otherwise authorized, to carry firearms in DC.

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stated, in response to the government’s questions, that Mr. Ibrahim “did not talk about a podcast

or a cigar.”



            3) A Map Showing the Restricted Perimeter Excludes the Peace Monument

            The supplemental discovery included a map that showed the

government’s alleged restricted perimeter on January 6. The

government’s restricted perimeter specifically excluded the Peace

Monument.

            During the oral hearing, the government made it a point that

Mr. Ibrahim was charged because he climbed the Peace Monument,

which the government also claimed had visible restrictions. This

could not have been, as the government’s evidence shows that the

Peace Monument was outside the restricted perimeter placed in

front of the Capitol on January 6, and that the government’s own

search of the defendant’s geolocation did not include this area.



            Due to the highly elucidative, relevant, and exculpatory nature of this supplemental

discovery, and because this discovery was requested prior to the hearing on the Defendant’s

motion but produced only after the hearing, the Defense asks this Court to add the weight of the

supplemental evidence into the consideration of Defendant’s motion.




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                                             Respectfully submitted,

                                             By Counsel:

                                                    /s/
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                                CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on July 22, 2022, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                   /s/
                                             Marina Medvin, Esq.




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